Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 1 of 47

Exhibit “A”
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 2 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 1 of 32

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DAVID B. DOWNS, and CIVIL ACTION
MARGARET A. DOWNS,

Plaintiffs,

v.
NO. 18-4529

BOROUGH OF JENKINTOWN,
DEBORA PANCOE,
RICHARD BUNKER, and
GEORGE LOCKE,

Defendants.

DuBois, J. May 22, 2020
MEMORANDUM

I. INTRODUCTION

In this case, plaintiffs, David and Margaret Downs, assert that the Borough of Jenkintown
(“the Borough”) and the individually named defendants retaliated against them by falsely
accusing them of violating the Jenkintown Zoning Code (“Zoning Code”) as a result of the
exercise by plaintiffs of their First Amendment rights. Presently before the Court is defendants’
motion for summary judgment. For the reasons set forth below, the motion is granted in part and
denied in part.

Il. BACKGROUND!

A. The Borough Government and Zoning Code

The Borough is managed by a council of twelve members (the “Borough Council”).
Locke Dep. 137:1-138:15. At all relevant times, defendant Debora Pancoe was the President of
the Borough Council, Pancoe Dep. 8:10-12, defendant Richard Bunker was the Vice President of

the Borough Council, Bunker Dep. 13:17-14:6, and defendant George Locke was the Borough

! The facts are presented in the light most favorable to plaintiffs. Disputed facts are noted as such.

1
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 3 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 2 of 32

Manager, Locke Dep. 25:25-26:1. Locke testified that he reports to the Borough Council, but
primarily answers to the Borough president. /d. at 26:2-5. In addition to his duties as Borough
Manager, Locke also handled “code and enforcement, and zoning matters.” Jd. at 15:7-9.

Pursuant to the Zoning Code, properties zoned in the B-1 Residential District may only
operate a “No Impact home-based business.” Defs.’ Ex. B. Properties zoned in the B-1
Residential District are prohibited from operating an impact home-based business (“impact
business”). Defs.’ Ex. B. If Locke or a zoning enforcement officer determines that a resident is
violating the Zoning Code, he may issue an Official Notice of Zoning Code Violation (“Notice
of Violation”). Locke Dep. 36:1-14. A Notice of Violation instructs the resident to cease
violating the Zoning Code, and either: (1) inform the Borough, in writing, of the resident’s intent
to comply, or (2) request a hearing before the Jenkintown Borough Zoning Hearing Board
(“Zoning Hearing Board”). Defs.’ Ex. B. Ifa resident does not appeal the Notice of Violation to
the Zoning Hearing Board within 30 days of receipt, the resident forfeits the right to challenge
the Notice of Violation on the merits, and the Borough may issue a citation. Locke Dep. 46:8-
47:2.

Locke testified that he kept the Borough informed of his actions regarding his
enforcement of the Zoning Code. Locke Dep. 49:8-19, 63:16-19; Pls.’ Ex. 14. Locke, however,
has discretion to issue Notices of Violation, and may do so without approval from the Borough
Council or individual members of the Borough Council. Locke Dep. 48:15-49:19; Pancoe Dep.
42:25-43:5, 52:13-17; Bunker Dep. 85:10-86:22. Lori Durkin, a former member of the Borough
Council, testified that during the time she served on the Council, which ended in November
2016, Locke was “heavily advised” by Pancoe, the Borough President, and Locke would not

issue a Notice of Violation without “approval” from Pancoe. Durkin Dep. 34:25-35:5, 57:10-
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 4 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 3 of 32

60:23.

B. Plaintiffs’ Complaints Against the Glasses

Plaintiffs reside at 301 Runnymede Avenue in the Borough of Jenkintown. Pls.’
Counterstatement Facts 1. In August 2016, Joseph and Christine Glass rented the house next
door to the plaintiffs. /d. 3. Plaintiffs’ property and the home the Glasses were renting were
zoned in the B-1 Residential District. /d. § 4; Def.” Ex. B. Shortly after the Glasses moved in
next door to the plaintiffs, the Borough received at least 20 complaints, from the plaintiffs and
other neighbors, that the Glasses were operating an impact business, a construction business, in
violation of the Zoning Code for the B-1 Residential District. Locke Dep. 39:18-40:5; Pls.’ Ex.
29. On September 6, 2016, after investigating the numerous complaints against the Glasses,
Locke issued a Notice of Violation to the Glasses for operating an impact business. Jd. at 40:6-
16. In response, according to Locke, the Glasses stated “they would stop doing what they were
doing that was not allowed,” and comply with the Zoning Code. Jd.

Locke testified that the Borough “look{s] for voluntary compliance,” and “go[es] above
and beyond trying to get voluntary compliance” with Notices of Violation. Locke Dep. 40:6-16.
To ensure that the Glasses came into compliance with the Zoning Code, Locke and Durkin
inspected the Glasses’ property and spoke with the Glasses regarding their compliance with the
Zoning Code. Locke Dep. 40:20-41:6; Durkin Dep. 23:1-10. Locke gave the Glasses a
“checklist to fill out and complete” so they could come into compliance with the Zoning Code.
Durkin Dep. 23:1-13; Locke Dep. 38:8-23. Locke concluded that the Glasses complied with the
September 6, 2016 Notice of Violation. Pls. Ex. 9; Locke Dep. 43:10-12.

Plaintiffs contended that the Glasses continued to operate an impact business, so they

continued to file complaints against them with Locke and the Borough. Pls.’ Ex. 10; Pls.’
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 5 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 4 of 32

Counterstatement Facts § 12. Plaintiffs “appeared before the Borough Council on multiple
occasions[, from 2016 to 2017,] and voiced complaints about the manner in which George Locke
and the Borough enforced the zoning code against the Glasses.” Pls.’ Counterstatement Facts
{21.2 Locke testified that he “didn’t enjoy” the way the plaintiffs acted toward him with respect
to their complaints about the Glasses. Locke Dep. 84:24-85:17 (stating that he “didn’t enjoy,”
inter alia, the plaintiffs telling him that he was “awful” at his job). Plaintiffs also made 25
separate requests for public information (“Right-to-Know requests”) from September 16, 2016
until November 22, 2017, seeking a wide range of information. Pls.’ Ex. 15. Locke was aware
of these requests and assisted in preparing responses. Locke Dep. 116:10-21.

Ultimately, in “September of 2017, due to her dissatisfaction with the manner in which
the Jenkintown Borough Council governed, Ms. Downs entered the Jenkintown Mayor’s race as
a Democrat and write-in candidate.” Pls.’ Counterstatement Facts { 22. Mr. Downs supported
his wife’s campaign for mayor. D. Downs. Dep. 15:19-23, 24:4-17. During Ms. Downs’
campaign for mayor, Borough Vice President Bunker made several comments on social media
opposing Ms. Downs’ candidacy. Pls. Ex. 17. Specifically, Bunker stated that: Ms. Downs
would be a “disaster” as a mayor, she “cost the taxpayers of the Borough tens of thousands of
dollars on pointless right-to-know requests in her attempt to twist zoning law to run her neighbor
out of town,” and “she wanted council to lean on police and zoning to unevenly enforce law and
code, to mess with her neighbor.” Jd. The election was held on November 7, 2017. Pancoe

Dep. 74:16-17. Ms. Downs was defeated. Pls.’ Counterstatement Facts { 33.

2 Plaintiffs’ counterstatement of facts states that “[fJrom 2016 until 2018, Plaintiffs appeared before the
Borough Council on multiple occasions and voiced complaints about the manner in which George Locke and the
Borough enforced the zoning code against the Glasses.” Pls. Counterstatement Facts { 21 (citing to Pls.’ Ex. 2, 3).
However, plaintiffs’ Exhibit Two and Exhibit Three state that they appeared before the Borough Council “from
September of 2016 into 2017.” Pls.’ Exs. 2, 3.

4
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 6 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 5 of 32

C. The Glasses’ Complaints About the Plaintiffs

On October 25, 2016, shortly after plaintiffs began complaining that the Glasses were
operating an impact business, the Glasses filed their first complaint with the Borough asserting
that the plaintiffs were operating an impact business—a landscaping business. Pls.’ Ex. 14.
Locke investigated the Glasses’ complaint against the plaintiffs, and concluded that “the
evidence provided [by the Glasses against the plaintiffs] did not rise to the level of operating a
business.” Jd. However, the Glasses “adamantly disagreed” with Locke. Jd. Locke directed the
Glasses to “report any new activity to the Borough for review.” Jd. Approximately one year
later, on September 20, 2017, during Ms. Downs’ campaign for mayor, the Glasses filed a
second complaint with the Borough alleging that plaintiffs were operating an impact business.
Pls.’ Ex. 14. The Glasses filed three additional complaints against plaintiffs on September 25th,
29th, and October 4th, 2017. Jd. In support of their complaints, the Glasses submitted
photographs and videos that purported to show that plaintiffs were operating an impact business.
Id.

Locke testified that, after the Glasses’ first complaint against the plaintiffs in October
2016, but before their second complaint in September 2017, Magisterial District Judge Elizabeth
McHugh, issued a ruling, which interpreted the definition of an impact business under the
Zoning Code in a way that encompassed a broader range of activities. Locke Dep. 52:23-54:2.
The plaintiffs deny that any such ruling was made by Judge McHugh, and significantly, no such
ruling was included in the record. Pls.’ Resp. 24, § 87-89. Locke applied this new interpretation
of the Zoning Code by Judge McHugh when he reviewed the Glasses’ 2017 complaints against

the plaintiffs. Locke Dep. 52:23-54:2.
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 7 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 6 of 32

D. Locke’s Response to the Glass’ 2017 Complaints About the Plaintiffs

Locke reviewed the evidence submitted by the Glasses that purported to show that
plaintiffs were operating an impact business from their home. Pls.’ Ex. 14. Locke then sought
legal advice from Borough Solicitor Sean Kilkenny regarding whether the evidence against the
plaintiffs was sufficient to issue them a Notice of Violation for operating an impact business.
Locke Dep. 63:8-15, 66:14-17. Locke was advised that “there was enough evidence” to issue a
Notice of Violation to the plaintiffs for operating an impact business. Kilkenny Dep. 17:1-5.
Specifically, Kilkenny told Locke that “he had a reasonable basis” to issue the Notice of
Violation “based on the evidence and based on Judge McHugh’s version of how she was
interpreting the Code.” Kilkenny Dep. 49:23-50:7.

On October 11, 2017, Locke informed the Borough Council that he believed that the
evidence against the plaintiffs was sufficient to issue a Notice of Violation. Pls.’ Ex. 14; Locke
Dep. 63:16-19. According to Locke, it was his “call” to issue the Notice of Violation to the
plaintiffs. Locke Dep. 72:8-10. Additionally, Locke testified that he does not remember Bunker,
the Borough Vice President, “ever mention[ing] anything about issuing the Notice of Violation .
. . to the [plaintiffs] prior to [Locke] doing it.” Locke Dep. 71:16-71:19. Ms. Downs, however,
testified that she has “strong beliefs” that Locke was directed by Borough President Pancoe to
issue the Notice of Violation to the plaintiffs. M. Downs Dep. 100:24-101:11. Ms. Downs also
testified that, “by virtue of his Facebook posts,” Bunker made “it very clear that he was in favor
of this target against us.” Jd. at 103:2-8. She added that she had a “suspicion” that Locke’s
actions were directed by Kilkenny, but admitted that she had no “direct evidence” that Locke
was directed to issue the Notice of Violation to the plaintiffs by anyone. /d. at 97:16-98:12;

108:14-109:1.
8-cv-04529-JD_ Document 39-2 Filed 06/18/20 Page 8 of 47

Case 2:1
e 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 7 of 32

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After Locke informed the Borough Council that he believed there was sufficient evidence
to issue a Notice of Violation to the plaintiffs, he was advised by Kilkenny and Pancoe to delay
issuing the Notice until after the mayoral election because they did not want to appear to be
interfering with the election. Locke Dep. 72:11-73:10. Locke complied. On December 7, 2017,
one month after the mayoral election ended, Locke and Kilkenny met with plaintiffs and issued a
Notice of Violation to them which charged that they were operating an impact business. Pls.’
Counterstatement Facts { 33. °

Ms. Downs stated that after Locke issued the Notice of Violation to the plaintiffs on
December 7, 2017, they made numerous requests to meet with him and explain that they were
not operating an impact business, but he never replied. M. Downs Dep. 171:19-172:14; Pls.’ Ex.
25; Pls.’ Ex. 2.2 In addition, Ms. Downs stated that the plaintiffs invited Locke to inspect their
home to determine whether they were operating an impact business, but he did not reply. M.
Downs Dep. 171:19-172:14; Pls.’ Ex. 2, 732. Borough residents also appeared at Borough
Council meetings and stated that the plaintiffs did not operate an impact business, which gave
Locke “pause.” Locke Dep. 72:3-7. Furthermore, Ms. Downs testified that Locke and the
Borough never gave them an opportunity to come into voluntary compliance with the Code, and
treated the plaintiffs differently than they treated the Glasses. See M. Downs Dep. 171:19-
172:14; Pls.’s Ex. 2. Locke, however, testified that he gave the plaintiffs the opportunity to
voluntarily comply with the Code, but plaintiffs responded that they were not violating the Code.

Locke Dep. 68:24-69:6, 69:25-70:10. Locke, also, testified that he treated both the plaintiffs and

3 In their response to plaintiffs’ counterstatement of facts, defendants objected to, and moved to strike,
Plaintiffs’ Exhibits 2-6 because those exhibits were submitted as “certifications,” which defendants argue are
improper under Federal Rule of Civil Procedure 56. Defs.’ Resp. Counterstatement Facts at 1. In response,
plaintiffs filed affidavits, affirming the accuracy of their certifications previously submitted as plaintiffs’ Exhibits 2
and 3. Pl.’ Praecipe Supp. Pls.” Counterstatement Facts & Resp. Defs.” Mot. Summ. J. (Doc. No. 30, filed January
6, 2020). Defendants did not object to plaintiffs’ affidavits. The Court concludes that Plaintiffs’ Exhibits Two and
Three, as affirmed, satisfy Rule 56.
Case 2:18-cv-04529-JD_ Document 39-2 Filed 06/18/20 Page 9 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 8 of 32

the Glasses “exactly the same.” Locke Dep. 150:3-9.

Shortly after plaintiffs received the Notice of Violation, their attorney sent Locke a letter
that stated: “rest assured that the Downs’ are, and always have been, in compliance with any and
all Permitted Uses as defined in the applicable section of the Jenkintown Borough Code.” Pls.’
Ex. 20. An attorney from Kilkenny’s law firm, responded on December 21, 2017, replying that:
“The Borough has determined that Mr. and Mrs. Downs are in violation of the Borough’s Zoning
Code,” and if the plaintiffs disagreed with the Borough’s determination, they needed to file an
appeal to the Zoning Hearing Board by January 6, 2018. Pls.’ Ex. 21. The plaintiffs did not
appeal the Notice of Violation to the Zoning Hearing Board. Locke Dep. 73:23-74:1. Asa
result, Locke issued a citation to the plaintiffs on January 11, 2018. Locke Dep. 113:1-114:14.
Locke testified that no one instructed him to issue the citation. Locke Dep. 73:23-74:1.

After Locke issued a Citation to the plaintiffs, the case was brought before Judge
McHugh on March 26, 2018. Locke Dep. 91:17-92:7. Judge McHugh determined that, for a
reason not related to this case, the original Notice of Violation was defective, so she
recommended that it be reissued. Jd. Locke reissued the Notice of Violation to the plaintiffs that
same day. Locke Dep. 93:13-18, 94:19-21. Locke testified that he was not instructed by any
member of the Borough Council to reissue the Notice of Violation to the plaintiffs, and that “[i]t
was [his] decision.” Id. The plaintiffs appealed the second Notice of Violation to the Zoning
Hearing Board. Locke Dep. 124:20-25. After several hearings, the Zoning Hearing Board
issued a decision in plaintiffs’ favor and vacated the second Notice of Violation. Locke Dep.
128:8-12. Locke testified that he “wasn’t surprised” by the Zoning Hearing Board’s decision in

the plaintiffs’ favor. Locke Dep. 128:24-129:2.
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 10 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 9 of 32

E. Property Maintenance Notices

During Ms. Downs’ campaign for mayor, Kevin Lynch, a Property Maintenance Code
Enforcement Officer for the Borough two property maintenance notices to the plaintiffs for
failing to comply with the property maintenance code. Defs.’ Exs. E, I. Lynch issued the first
property maintenance notice on September 13, 2017, in response to a complaint by the Glasses
about an allegedly “dead and / or dying” tree on plaintiffs’ property. Defs.’ Exs. E, F. Plaintiffs
arranged for an arborist to inspect the tree and the arborist determined that the tree was healthy
but two branches needed to be cut. Defs.’ Ex. G. Plaintiffs informed Lynch of the arborist’s
findings. Jd. Lynch responded on October 27, 2017, and stated that the plaintiffs were now in
compliance with the property maintenance code after having an arborist inspect the tree. Defs.’
Ex. H. On October 20, 2017, Lynch issued a second property maintenance notice to plaintiffs in
response to the Glasses’ complaint that the plaintiffs were directing storm water toward their
property, causing damage to it. Defs.’ Exs. I, J. Plaintiffs complied with the second property
maintenance notice by installing an extension that corrected the water run-off problem. Defs.’
Ex. K.

Ms. Downs testified that she “thinks” Pancoe, Kilkenny, and Locke directed Lynch to
issue the property maintenance notices to the plaintiffs. M. Downs Dep. 110:16-20.
Additionally, she testified that Lynch told her that he was instructed by Pancoe to put the
property maintenance notices in writing because of Ms. Downs’ campaign for mayor. /d. at
109:9-22. Mr. Downs also testified that he “think[s]” that the Borough selectively enforced the
property maintenance code, D. Downs Dep. 154:7-15, and only enforced it against the plaintiffs
because of his wife’s campaign for mayor, D. Downs Dep. 153:8-23. He based this belief on his

observations of properties that were supposedly in violation of the property maintenance code
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 11 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 10 of 32

that he thinks did not receive a property maintenance code violation. Pls.’ Resp. Defs.’
Statement Facts { 24; D. Downs Dep. 153:1-156:3.

F. Procedural History

Plaintiffs filed a Complaint on October 23, 2018. On December 10, 2018, plaintiffs filed
an Amended Complaint against the Borough; Sean Kilkenny, Solicitor to the Borough; Debora
Pancoe, Borough Council President; Richard Bunker, Borough Council Vice President; and
George Locke, the Borough Manager (Document No. 4). The Amended Complaint asserted
three claims: (1) First Amendment retaliation pursuant to § 1983 against all defendants (Count I);
(2) state law abuse of process against Solicitor Kilkenny and Borough Manager Locke (Count
II); and (3) state law conspiracy against Solicitor Kilkenny and Borough Manager Locke (Count
III). First Am. Compl. 9-12.

By Memorandum and Order dated March 22, 2019, the Court granted in part and denied
in part defendants’ motion to dismiss. The Court dismissed: (1) the First Amendment retaliation
claim (Count I) against defendants Pancoe, Bunker, and Locke in their official capacities; (2) the
state law abuse of process claim (Count II) against defendants Kilkenny and Locke; and (3) the
First Amendment retaliation (Count I) and state law civil conspiracy (Count III) claims against
defendant Sean Kilkenny in both his official and individual capacity. The remaining claims in
the case are: (1) the First Amendment retaliation claim against Pancoe, Bunker, and Locke in
their individual capacities (Count I); (2) the First Amendment retaliation claim against the
Borough (Count I); and (3) the civil conspiracy claim against Locke in his official and individual

capacity (Count III).

10
Case 2:18-cv-04529-JD_ Document 39-2 Filed 06/18/20 Page 12 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 11 of 32

On November 15, 2019, defendants moved for summary judgment on all remaining
claims (Document No. 19). Plaintiffs responded on December 20, 2019 (Document No. 25).
The motion is thus ripe for decision.

iil. LEGAL STANDARD

The Court will grant a motion for summary judgment if “the movant shows that there is
no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
law.” Fed. R. Civ. P. 56(a); see Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). A fact is
material when it “might affect the outcome of the suit under the governing law.” Anderson v.
Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute is genuine “if the evidence is such that
a reasonable jury could return a verdict for the nonmoving party.” Jd.

The Court’s role at the summary judgment stage “is not . . . to weigh the evidence and
determine the truth of the matter but to determine whether . . . there is sufficient evidence
favoring the nonmoving party for a jury to return a verdict for that party.” Jd. at 249. However,
the existence of a “mere scintilla” of evidence in support of the nonmoving party is insufficient.
Id. In making this determination, “the court is required to examine the evidence of record in the
light most favorable to the party opposing summary judgment[] and resolve all reasonable
inferences in that party’s favor.” Wishkin v. Potter, 476 F.3d 180, 184 (3d Cir. 2007). The party
opposing summary judgment must, however, identify evidence that supports each element on
which it has the burden of proof. Celotex Corp., 477 U.S. at 322.

IV. DISCUSSION

Defendants moved for summary judgment on each of plaintiffs’ remaining claims—{1)

the First Amendment retaliation claim against Pancoe, Bunker, and Locke in their individual

capacities (Count I); (2) the First Amendment retaliation claim against the Borough (Count I);

1H
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 13 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 12 of 32

and (3) the civil conspiracy claim against Locke in his official and individual capacity (Count
IIf). The Court addresses each in turn.

A. First Amendment Retaliation Claims Under § 1983 Against the Individual
Defendants in Their Individual Capacities (Count ID

In their motion for summary judgement, defendants argue that (1) plaintiffs’ First
Amendment retaliation claim against the individual defendants has “no evidentiary support,” (2)
the plaintiffs cannot meet their burden of proving their protected activities were the cause of the
individual defendants’ actions, (3) there was probable cause to issue the Notice of Violation to
the plaintiffs, and (4) even if the Court concludes that plaintiffs have provided sufficient
evidence of First Amendment retaliation by the individual defendants, they are entitled to
qualified immunity. See Defs.’ Mot. Summ. J. at 5-15. The Court addresses each argument in
turn.

To prevail on a § 1983 claim against an individual defendant, “plaintiff must show that
defendant[,] acting under color of state law, deprived him of a right secured by the Constitution
or the laws of the United States.” Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 907 (3d Cir.
1997). Importantly, “[a] defendant in a civil rights action must have personal involvement in the
alleged wrongs; liability cannot be predicated solely on the operation of respondeat superior.”
Rode v. Dellarciprete, 845 F.2d 1195, 1207 (3d Cir. 1988); Chavarriaga v. New Jersey Dep’t of
Corr., 806 F.3d 210, 222 (3d Cir. 2015). A plaintiff may show that a defendant is personally
involved by providing evidence of “the defendant’s participation in or actual knowledge of and
acquiescence in the wrongful conduct.” Chavarriaga, 806 F.3d at 222; see also A.M. ex rel.
JM.K. v. Luzerne Cty. Juvenile Det. Ctr., 372 F.3d 572, 586 (3d Cir. 2004) (“[A] supervisor may
be personally liable under § 1983 if he or she participated in violating the plaintiff's rights,

directed others to violate them, or, as the person in charge, had knowledge of and acquiesced in

12
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 14 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 13 of 32

his subordinates’ violations.”). Thus, in order for Pancoe, Bunker, or Locke to be personally
liable under § 1983, the Court must determine whether they were personally involved in the
alleged retaliation against plaintiffs.

i. ~~ Borough Council President Debora Pancoe

Plaintiffs assert that the evidence shows that Borough Council President Debora Pancoe
directed Locke to issue the Notice of violation and that “Locke would not have issued the Notice
of Violation and Citation to Plaintiffs unless Pancoe directed it.” Pls.’ Resp. at 35. Specifically,
plaintiffs argue that Durkin’s testimony creates a genuine issue of material fact regarding
Pancoe’s personal involvement in the alleged retaliation against plaintiffs. Jd. The Court
disagrees.

Durkin testified that Locke was “heavily advised” by Pancoe, and that Locke would not
issue a Notice of Violation without “approval” from Pancoe. Durkin Dep. 57:10-60:23.
However, Durkin lacks personal knowledge of Locke’s decision to issue the Notice of Violation
to the plaintiffs in 2017. Her testimony is based on her service as a Borough Council member,
which ended in November of 2016—one year before Locke issued the Notice of Violation to the
plaintiffs. Durkin Dep. 34:25-35:5, 57:10-60:23. Accordingly, Durkin’s testimony is
insufficient to create a genuine dispute of material fact regarding Pancoe’s personal involvement
in the alleged retaliation against plaintiffs in 2017.

There is no dispute that Locke issued, and subsequently reissued the Notice of Violation
to plaintiffs. The record demonstrates that Locke has discretion to issue a Notice of Violation
and may do so independently and without approval from the Borough Council or members of the
Borough Council. Locke Dep. 48:15-49:19; Pancoe Dep. 42:25-43:5, 52:13-17; Bunker Dep.

85:10-86:22. Specifically, Locke testified that it was his “call” to issue the Notice of Violation

13
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 15 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 14 of 32

to the plaintiffs. Locke Dep. 72:8-10. Additionally, Locke testified that he was not instructed to
reissue the Notice of Violation to plaintiffs. Locke Dep. 93:13-17. Pancoe also testified that
Locke did not seek her approval before he reissued the Notice of Violation to the plaintiffs.
Pancoe Dep. 134:14-21. On this issue, the Court concludes that Durkin’s testimony on the way
Pancoe and Locke interacted in 2016—one year before Locke issued the Notice of Violation—is
not probative. In sum, there is no evidence that Pancoe was personally involved in the alleged
retaliation against plaintiffs. Accordingly, defendants’ motion for summary judgment on
plaintiffs’ First Amendment retaliation claim against Borough President Debora Pancoe in her
individual capacity (Count I) is granted.

ii. Borough Council Vice President Richard Bunker

With respect to Borough Council Vice President Richard Bunker, plaintiffs assert that
because Bunker made public statements opposing Ms. Downs’ candidacy for mayor, he “was
supporting the decisions to prosecute Plaintiffs.” Pls.” Resp. at 35. Therefore, according to
plaintiffs, he is personally liable under § 1983. Jd. The Court disagrees.

As discussed supra, Locke has discretion to issue a Notice of Violation and may do so
independently without approval from the Borough Council or members of the Borough Council,
such as Vice President Bunker. Locke Dep. 48:15-49:19; Pancoe Dep. 42:25-43:5, 52:13-17;
Bunker Dep. 85:10-86:22. Further, Locke testified that he does not remember Bunker “ever
mention{ing] anything about issuing the Notice of Violation . . . to the [plaintiffs] prior to
[Locke] doing it.” Locke Dep. 71:16-71:19. Plaintiffs, however, argue that Bunker’s public
statements opposing Mrs. Downs’ campaign for mayor is evidence that he “was supporting the
decisions to prosecute Plaintiffs.” Pls.’ Resp. at 35. But, plaintiffs fail to connect Bunker’s

public statements opposing Mrs. Downs’ campaign for mayor with Locke’s decision to issue,

14
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 16 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 15 of 32

and subsequently reissue, the Notice of Violation to them. Making public statements’ opposing
Mrs. Downs’ campaign for mayor, without more, is not evidence of Bunker’s personal
involvement in the alleged retaliation against plaintiffs. In sum, there is no evidence that Bunker
was personally involved in the alleged retaliation against plaintiffs.

Accordingly, defendants’ motion for summary judgment on plaintiffs’ First Amendment
retaliation claim against Borough Vice President Richard Bunker in his individual capacity
(Count ]) is granted.

iii. Borough Manager George Locke

Locke was personally involved in the alleged retaliation against plaintiffs because he
issued, and subsequently reissued, the Notice of Violation to the plaintiffs. Accordingly, the
Court must determine whether plaintiffs have met their burden of production with respect to their
First Amendment retaliation claim against Locke in his individual capacity.

To prevail on their First Amendment retaliation claim against Locke in his individual
capacity, plaintiffs must prove: “(1) constitutionally protected conduct, (2) retaliatory action
sufficient to deter a person of ordinary firmness from exercising his constitutional rights, and (3)
a causal link between the constitutionally protected conduct and the retaliatory action.”
Mirabella v. Villard, 853 F.3d 641, 649 (3d Cir. 2017) (quoting Thomas v. Indep. Twp., 463 F.3d
285, 296 (3d Cir. 2006)). “A defendant may defeat the claim of retaliation by showing that it
would have taken the same action even if the plaintiff had not engaged in the protected activity.”
Eck v. Oley Valley Sch. Dist., No. CV 19-1873, —F. Supp. 3d.—, 2019 WL 6884668, at *9 (E.D.
Pa. Dec. 17, 2019) (quoting Lauren W. ex rel. Jean W. v. DeFlaminis, 480 F.3d 259, 267 (3d Cir.
2007)).

The Court notes that defendants did not argue that Locke’s decision to issue, and

15
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 17 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 16 of 32

subsequently reissue, the Notice of Violation did not constitute a retaliatory action against
plaintiffs for (1) voicing their complaints at Borough Council about the manner in which Locke
and the Borough enforced the zoning code against the Glasses, (2) requesting public information
in the form of Right-to-Know requests, and (3) campaigning for mayor by Ms. Downs with her
husband’s support. See Defs.” Mot. Summ. J. at 7-8, 12.4 Rather, defendants argue that there is
no causal connection between plaintiffs’ protected conduct and Locke’s claimed retaliatory
action. /d. Accordingly, the Court limits its analysis to whether the plaintiffs have shown that
there was a causal connection between the plaintiffs’ constitutionally protected conduct and
Locke’s alleged retaliatory action.

To establish a causal link between an alleged retaliatory action and a protected activity,
“a plaintiff usually must prove either (1) an unusually suggestive temporal proximity between
the protected activity and the allegedly retaliatory action, or (2) a pattern of antagonism coupled
with timing to establish a causal link.” DeFlaminis, 480 F.3d at 267. In the absence of an
unusually suggestive temporal proximity between the protected activity and the allegedly
retaliatory action, or a pattern of antagonism coupled with timing to establish a causal link, a
plaintiff must “show that from the ‘evidence gleaned from the record as a whole’ the trier of the

fact should infer causation.” Jd. “The required [causal] link is ‘but-for’ causation.” Mirabella,

4 Nonetheless, the Court concludes that plaintiffs have satisfied that first two elements of their First

Amendment retaliation claim against Locke in his individual capacity. As to the first element, plaintiffs exercised
their First Amendment rights—their right to free speech, to petition the government for redress of grievances, and
their right to political association—when they publically criticized the failure of Locke and the Borough to enforce
the Zoning Code, requested public information, see Mirabella, 853 F.3d at 649, and when Ms. Downs sought
political office with her husband’s support, see Tashjian v. Republican Party of Connecticut, 479 U.S. 208, 214
(1986); Pueschel v. Chao, 955 F.3d 163, 169 (D.C. Cir. 2020). As to the second element, Locke’s act of, issuing
and subsequently reissuing, the Notice of Violation to plaintiffs, could constitute retaliatory action sufficient to deter
a person of ordinary firmness from exercising their constitutional rights. See Majer v. Twp. of Long Beach, No.
CIV.A.06-2919MLC, 2009 WL 3208419, at *5 (D.N.J. Sept. 30, 2009) (finding a genuine issue of material fact as to
whether township’s conduct was retaliatory where plaintiff “was issued violation notices and a summons as to his
practice of posting ‘Open House—For Rent’ signs”).

16
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 18 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 17 of 32

853 F.3d at 651 (citing Hartman v. Moore, 547 U.S. 250, 256 (2006). This inquiry is highly
context specific. Kachmar v. SunGard Data Systems, Inc., 109 F.3d 173, 178 (3d Cir. 1997).
Importantly, the Third Circuit has stressed that “[a] court must be diligent in enforcing these
causation requirements because otherwise a public actor cognizant of the possibility that
litigation might be filed against him, particularly in his individual capacity, could be chilled from
taking action that he deemed appropriate and, in fact, was appropriate.” DeFlaminis, 480 F.3d at
267.

The Court concludes that viewing the record as a whole, in the light most favorable to the
plaintiffs, they have presented sufficient evidence from which a jury could infer causation. First,
Locke issued the Notice of Violation on December 7, 2017, one month after Ms. Downs’
campaign for mayor ended, and fifteen days after plaintiffs filed their most recent Right-to-Know
request, of which Locke testified that he was aware.° Pls.’ Ex. 15; Locke Dep. 116:10-21. Thus,
there is a close temporal proximity between plaintiffs’ protected conduct and Locke’s allegedly
retaliatory actions, which is probative of causation. See Hammond v. City of Wilkes Barre, 628
F. App’x 806, 808 (3d Cir. 2015) (“[T]wo weeks may be close enough temporally to be
probative of causation.”). Second, Locke testified that he “didn’t enjoy” the way the plaintiffs
acted toward him with respect to their complaints about the Glasses. Locke Dep. 84:24-85:17.
Third, Ms. Downs testified that Locke treated the plaintiffs differently than he treated the Glasses
with respect to his enforcement of the Zoning Code. M. Downs Dep. 171:19-172:14.
Specifically, Ms. Downs stated that (1) Locke did not meet with the plaintiffs to discuss their

alleged violation of the Zoning Code, as he had done with the Glasses; (2) Locke did not

5 The Court notes that part of the delay resulted from Locke’s decision to defer issuance of the Notice of
Violation during Ms. Downs’ campaign for mayor. He concluded that there was sufficient evidence to issue a
Notice of Violation to the plaintiffs in October 2017, during Ms. Downs’ campaign for mayor. See supra, Part If.

17
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 19 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 18 of 32

investigate plaintiffs’ home, to determine whether they were in fact operating an impact
business, as he had done with the Glasses; and (3) Locke did not give the plaintiffs an
opportunity to abate their conduct, as he had done with the Glasses. Jd.; Pls.” Ex. 2. On this
issue, plaintiffs argue that Locke’s failure to give plaintiffs the opportunity to voluntarily comply
is significant because Locke testified that the Borough “look[s] for voluntary compliance,” and
“gofes] above and beyond trying to get voluntary compliance” with Notices of Violation. Locke
Dep. 40:6-16. Finally, Locke testified that he “wasn’t surprised” by the Zoning Hearing Board’s
decision in the plaintiffs’ favor. Locke Dep. 128:24-129:2. The Court concludes that a
reasonable jury considering this evidence could conclude that Locke issued, and subsequently
reissued, the Notice of Violation to the plaintiffs in retaliation for their constitutionally protected
conduct. This conclusion, however, does not end the Court’s inquiry.

“A defendant may defeat the claim of retaliation by showing that it would have taken the
same action even if the plaintiff had not engaged in the protected activity.” Eck v. Oley Valley
Sch. Dist., No. CV 19-1873, —F. Supp. 3d.—, 2019 WL 6884668, at *9 (E.D. Pa. Dec. 17,
2019). In their motion for summary judgment, defendants argue that Locke would have taken
the same actions against plaintiffs even if they had not engaged in their protected activities,
Defs.’ Mot. Summ. J. at 10-11. Defendants also assert that “there is evidence to establish even
probable cause” that plaintiffs violated the Zoning Code, which “defeats a First Amendment
Retaliation Claim.” /d. at 11 (citing Nieves v. Bartlett, 139 S. Ct. 1715 (2019)). The Court will
address each argument in turn.

First, defendants argue that, according to both Locke and Kilkenny, the evidence was
sufficient to issue a Notice of Violation. Defs.’ Mot. Summ. J. at 10. Defendants claim that

Locke would have issued the Notice of Violation to the plaintiffs regardless of their protected

18
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 20 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 19 of 32

conduct. But, Locke and Kilkenny’s determination that the evidence was sufficient to warrant
issuance of a Notice of Violation was based on an alleged ruling by Judge McHugh that
interpreted the definition of an impact business under the Zoning Code in a way that
encompassed a broader range of activities. Kilkenny Dep. 49:23-50:10; Locke Dep. 52:23-54:2.
Plaintiffs dispute the existence of such a ruling, and defendants have not presented any evidence
of the ruling—the record does not include copies of an order or a transcript, and Judge
McHugh’s deposition was not taken. Because defendants’ argument that Locke would have
taken the same action even if the plaintiffs had not engaged in protected conduct is based on
Judge McHugh’s challenged ruling, this defense presents a genuine issue of material fact, which
cannot be adjudicated on a motion for summary judgment.

Second, defendants claim that “the photographs and videos evidencing commercial grade
landscaping equipment being moved from and to the [plaintiffs’] property on multiple occasions
was sufficient probable cause to issue the notice.” Defs.” Mot. Summ. J. at 11. However,
“Tb]ecause of its fact-specific nature, the existence or absence of probable cause is ordinarily a
question of fact appropriate for resolution by a jury.” Adams v. Springmeyer, 17 F. Supp. 3d
478, 495 (W.D. Pa. 2014); Sherwood v. Mulvihill, 113 F.3d 396, 401 (3d Cir. 1997) (Typically,
the existence of probable cause in a section 1983 action is a question of fact.”). Nonetheless, “a
district court may conclude that probable cause exists as a matter of law if the evidence, viewed
most favorably to the Plaintiff, reasonably would not support a contrary factual finding, and may
enter summary judgment accordingly.” Brantley v. Burrows, No. CV 14-4185, 2015 WL
13620413, at *3 (E.D. Pa. Nov. 19, 2015); Estate of Smith v. Marasco, 318 F.3d 497, 514 Gd

Cir. 2003).

19
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 21 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 20 of 32

The Court declines to determine whether, as a matter of law, there was probable cause for
Locke to issue the Notice of Violation to the plaintiffs as a matter of law because the existence of
probable cause depends on the definition of an impact business under the Zoning Code. And, as
discussed supra, there is a question of fact as to whether Judge McHugh issued a ruling that
expanded the definition of an impact business under the Zoning Code. Furthermore, defendants
fail to include in the summary judgment record the “photographs and videos” that they rely on to
argue that probable cause exists. See Defs.” Mot. Summ. J. at 11.

The Court concludes that a reasonable jury could find that Locke retaliated against
plaintiffs because they exercised their First Amendment rights. The Court also concludes that
the defendants have failed to show that Locke would have issued, and subsequently reissued, the
Notice of Violation to the plaintiffs despite their constitutionally protected conduct.
Additionally, the Court declines to determine as a matter of law whether there was probable
cause to issue the Notice of Violation to the plaintiffs. The Court must now address whether
Locke is entitled to qualified immunity.

Qualified immunity shields government officials performing discretionary functions from
42 U.S.C. § 1983 liability. See Harvey v. Plains Twp. Police Dep’t, 421 F.3d 185, 192 (3d Cir.
2005). However, qualified immunity does not apply if two conditions are met. /d. First, the
plaintiff must allege facts that “make out a violation of a constitutional right.” Pearson v.
Callahan, 555 U.S. 223, 232 (2009). Second, the “right at issue [must have been] ‘clearly
established’ at the time of defendant’s alleged misconduct.” /d. “To be clearly established, a
right must be sufficiently clear that every reasonable official would have understood that what he
is doing violates that right.” Reichle v. Howards, 566 U.S. 658, 664 (2012). If officials could

disagree regarding the legality of their conduct, then qualified immunity should be recognized.

20
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 22 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 21 of 32

Malley v. Briggs, 475 U.S. 335, 341 (1986) (stating that qualified immunity protects “all but the
plainly incompetent or those who knowingly violate the law”).

As discussed supra, plaintiffs have provided sufficient evidence of retaliation against
them for exercising their First Amendment rights to warrant submission of that issue to the jury.
Accordingly, the Court must determine whether the plaintiffs’ First Amendment rights were
clearly established at the time of Locke’s alleged misconduct. Reichle, 566 U.S. at 664.
Defendants argue that (1) Locke is entitled to qualified immunity because his actions did not
violate plaintiffs’ clearly established rights, and (2) Locke is presumptively entitled to qualified
immunity because he relied on legal advice from Kilkenny. Defs.” Mot. Summ. J. 13-14 (citing
Kelly v. Borough of Carlisle, 622 F.3d 248, 255-56 (3d Cir. 2010)). The Court disagrees.

“[I]t is clearly established that ‘the First Amendment prohibits [a public official] from

939

retaliating against an individual for speaking critically of the government.’” Blankenship v.
Manchin, 471 F.3d 523, 533 (4th Cir. 2006) (quoting Trulock v. Freeh, 275 F.3d 391, 406 (4th
Cir. 2001)); Jenkins v. Rock Hill Local Sch. Dist., 513 F.3d 580, 588 (6th Cir. 2008) (“[T]he
right to criticize public officials is clearly protected by the First Amendment.”); see also
Hartman v. Moore, 547 U.S. 250, 256 (2006) (“[T]he law is settled that as a general matter the
First Amendment prohibits government officials from subjecting an individual to retaliatory
actions, including criminal prosecutions, for speaking out.”). Thus, the Court concludes that
plaintiffs had a clearly established First Amendment right to voice their criticism of their local
government’s perceived failure to enforce the law. A reasonable public official in Locke’s

position would know that he could not retaliate against the plaintiffs for criticizing the Borough

and Locke at Borough Council for failing to enforce the Zoning Code.

21
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 23 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 22 of 32

Moreover, the “right to seek political office ... is undeniable.” Pueschel v. Chao, 955
F.3d 163, 169 (D.C. Cir. 2020) (quoting Branch v. F.C.C., 824 F.2d 37, 47 (D.C. Cir. 1987));
Newcomb v. Brennan, 558 F.2d 825, 829 (7th Cir. 1977) (“[P]laintiff's interest in seeking office
was protected by the First Amendment.”); see also United States v. Tonry, 605 F.2d 144, 150
(Sth Cir. 1979) (“There is no question that candidacy for office and participating in political
activities are forms of expression protected by the first amendment.”); Savage v. Pennsylvania
Tpk. Comm’n, No. 2:15-CV-6501, 2016 WL 3548436, at *8 (E.D. Pa. June 27, 2016) (“The
[Supreme] Court observed that there is a First Amendment interest in candidacy.”). Because the
right to seek political office is so foundational to our system of government, every reasonable
official in Locke’s position would know that they could not retaliate against the plaintiffs
because Ms. Downs ran for mayor. See Hope v. Pelzer, 536 U.S. 730, 741 (2002) (“[O]fficials
can still be on notice that their conduct violates established law even in novel factual
circumstances.”). Accordingly, Locke is not entitled to qualified immunity on plaintiffs’ First
Amendment retaliation claim.

Nonetheless, defendants argue that Locke is “presumptively entitled” to qualified
immunity because he relied on Solicitor Kilkenny’s legal advice regarding whether there was
sufficient evidence to issue the Notice of Violation to the plaintiffs. Defs.” Mot. Summ. J. at 15
(citing Kelly v. Borough of Carlisle, 622 F.3d 248, 255-56 (3d Cir. 2010). First, as discussed
supra, Locke’s reliance on Kilkenny’s legal advice was based on Judge McHugh’s ruling, as to
which there is a genuine issue of material fact. See Monteiro v. City of Elizabeth, 436 F.3d 397,
405 (3d Cir. 2006) (‘Although qualified immunity is a question of law determined by the Court,
when qualified immunity depends on disputed issues of fact, those issues must be determined by

the jury.”). Second, defendant’s argument is based on the Third Circuit opinion in Kelly, which

22
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 24 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 23 of 32

held “that a police officer who relies in good faith on a prosecutor’s legal opinion that the arrest
is warranted under the law is presumptively entitled to qualified immunity from Fourth
Amendment claims premised on a lack of probable cause.” Kelly, 622 F.3d at 255-56. That case
presents different concerns and is distinguishable from this case. Accordingly, the Court
declines to extend the holding in Kelly to plaintiffs’ First Amendment retaliation claim against
Locke.

The Court concludes that plaintiffs’ First Amendment right to criticize their local
government’s perceived failure to enforce the law, and Ms. Downs’ First Amendment right to
seek political office were clearly established at the time of Locke’s actions. Accordingly, Locke
is not entitled to qualified immunity. Defendants’ motion for summary judgment on plaintiffs’
First Amendment retaliation claim against Locke in his individual capacity (Count [) is denied.

B. First Amendment Retaliation Claim Against the Borough Under § 1983 (Count
1

Under Monell v. Department of Social Services, a municipality cannot be held liable on a
theory of respondeat superior. Monell v. Dep’t of Soc. Sevs., 436 U.S. 658, 691 (1978). Rather,
a municipal entity is liable under § 1983 only “when execution of a government’s policy or
custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to
represent official policy” deprives a citizen of constitutional rights. Jd. at 694. An “official
policy” is created not only by formal rules but also when the “government’s authorized
decisionmakers” make the “decision to adopt [a] particular course of action.” Pembaur v. City of
Cincinnati, 475 U.S. 469, 481 (1986). A “custom” exists when a “widespread practice” is “so
permanent and well settled as to constitute a custom or usage with the force of law.” City of St.
Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (internal citations omitted).

In this case, plaintiffs claim that “Defendants Pancoe, Bunker and Locke” were the

23
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 25 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 24 of 32

“authorized decision makers for the Borough of Jenkintown.” Pls.’ Resp. at 41. Thus, according
to plaintiffs, the alleged retaliatory actions of Pancoe, Bunker and Locke represent an official
Borough policy. /d. at 42. Plaintiffs also argue that the record “demonstrates that Defendant
Jenkintown Borough had a custom of selectively and sporadically enforcing” the property
maintenance code and the “zoning code[,] and used this custom to violate Plaintiffs’
constitutional rights.” Jd. at 12, 41. The Court will address each argument in turn.
i. First Amendment Retaliation Claim Based on an Official Borough Policy

Plaintiffs contend that “Defendants Pancoe, Bunker and Locke” were the “authorized
decision makers for the Borough of Jenkintown.” Pls.’ Resp. at 41. Thus, according to
plaintiffs, the alleged retaliatory actions of Pancoe, Bunker, and Locke represent an official
Borough policy. /d. at 42. But, as discussed supra, plaintiffs’ First Amendment retaliation
claim against Pancoe and Bunker in their individual capacities fail because they were not
personally involved in the alleged retaliation against the plaintiffs. As such, plaintiffs’ Monell
claim based on an official Borough policy predicated on Pancoe and Bunker’s actions fails as a
matter of law. See Zimmerlink v. Zapotsky, 539 F. App’x 45, 50 (3d Cir. 2013) (“Because no
claims against the individual defendants survive, [plaintiff's] municipal liability claims against
the County were properly dismissed.”); Marable v. W. Pottsgrove Twp., 176 F. App’x 275, 283
(3d Cir. 2006) (“We further note that a municipality may not incur Monell liability as a result of
the actions of its officers when its officers have inflicted no constitutional injury.”).

The Court concludes that a reasonable jury could find that Locke retaliated against
plaintiffs because they exercised their First Amendment rights. Thus, plaintiffs’ Monell claim

predicated on Locke’s actions is viable only if Locke was a policymaking official for the

24
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 26 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 25 of 32

Borough, which defendants’ dispute.° See Pembaur, 475 U.S. at 481. The Court must determine
whether there is evidence of record that Locke is a policymaking official.

“Municipal liability attaches only where the decisionmaker possesses final authority to
establish municipal policy with respect to the action ordered.” Pembaur, 475 U.S. at 481;
Praprotnik, 485 U.S. at 123. “The fact that a particular official—even a policymaking official—
has discretion in the exercise of particular functions does not, without more, give rise to
municipal liability based on an exercise of that discretion.” Pembaur, 475 U.S. at 482. “The
question of who is a ‘policymaker’ is a question of state law.” Kelly, 622 F.3d at 264-65
(quoting Andrews v. City of Phila., 895 F.2d 1469, 1481 (3d Cir. 1990)); Praprotnik, 485 U.S. at
124 (“We begin by reiterating that the identification of policymaking officials is a question of
state law.”). “In order to ascertain if an official has final policy-making authority, and can thus
bind the municipality by his conduct, a court must determine (1) whether, as a matter of state
law, the official is responsible for making policy in the particular area of municipal business in
question, and (2) whether the official’s authority to make policy in that area is final and
unreviewable.” Hill v. Borough of Kutztown, 455 F.3d 225, 245 (3d Cir. 2006) (internal marks
omitted). Accordingly, the Court must determine whether, under Pennsylvania law, Locke is a
policymaking official for the Borough in the area of zoning enforcement.

Pennsylvania law provides that, “(t]he council of a borough may, at its discretion at any
time, create by ordinance the office of borough manager,” whose powers and duties “shall be
regulated by ordinance.” 8 Pa. Cons. Stat. Ann. §§ 1141(a), 1142(a). However, the Jenkintown

municipal ordinances were not made part of the summary judgment record in this case and

6 Plaintiffs did not argue, or submit any evidence, that Locke’s actions were ratified by a policymaking
official. See Kelly, 622 F.3d at 264 (“An employee who lacks policymaking authority can still bind the municipality
if a municipal policymaker . . . ratified his decision.”). Accordingly, the Court does not address whether Locke’s
actions were ratified.

25
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 27 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 26 of 32

“these documents are not ‘readily available’ such that the Court could take judicial notice of
them.” Chirdon v. Borough of Plum, 92 F. Supp. 3d 360, 365 (W.D. Pa. 2015) (quoting Getty
Petroleum Mktg., Inc. v. Capital Terminal Co., 391 F.3d 312, 321 (1st Cir. 2004). Therefore, the
Court must analyze the record to determine whether Locke is a policymaking official in the area
of zoning enforcement.

In this case, plaintiffs present no evidence that supports their assertion that Locke was a
policymaker for the Borough. Specifically, there is no evidence of record that (1) Locke is
responsible for making Borough policy in the area of zoning enforcement, or (2) that, even if
Locke possesses authority to make policy, his authority is final and unreviewable. See generally
Pls. Resp. 32-42. The record establishes that although Locke has discretion to enforce the
Zoning Code, he does not make policy with respect to zoning enforcement. See Pembaur, 475
USS. at 482 (“The fact that a particular official—even a policymaking official—has discretion in
the exercise of particular functions does not, without more, give rise to municipal liability based
on an exercise of that discretion.”). Locke merely enforces the Zoning Code, which
demonstrates that he is not an official policymaker in the area of zoning enforcement. See
Killinger v. Johnson, 389 F.3d 765, 771 (7th Cir. 2004) (“The mere authority to implement pre-
existing rules is not the authority to set policy.”).

Moreover, even if Locke were responsible for making Borough policy in the area of
zoning enforcement, the record illustrates that his authority would not be final and unreviewable.
Plaintiffs admit that Locke “answers” to the Borough Council, Pls.’ Resp. at 21, § 76.
Additionally, a Notice of Violation that Locke issues can be appealed to the Zoning Hearing
Board. Locke Dep. 124:20-25, 128:8-12. Indeed, plaintiffs appealed the Notice of Violation at

issue to the Zoning Hearing Board, and the Board reversed Locke’s determination and found in

26
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 28 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 27 of 32

their favor. Locke Dep. 128:8-12. The fact that Locke “answers” to the Borough Council and
that his decisions can be appealed to the Zoning Hearing Board shows that even if Locke had
authority to make policy in the area of zoning enforcement, his authority was not final and
unreviewable. The Court thus concludes that Locke is not a policymaking official for the
Borough in the area of zoning enforcement. Plaintiffs have failed to meet their burden of
proving that any alleged First Amendment retaliation they suffered was the result of an official
Borough policy.

ii. First Amendment Retaliation Claim Based on a Borough Custom of
Selectively Enforcing the Property Maintenance Code and the Zoning Code

In response to defendants’ motion for summary judgment, plaintiffs argue that “[t]he
record evidence also demonstrates that [the Borough] had a custom of selectively and
sporadically enforcing” the property maintenance code and the “zoning code[,] and used this
custom to violate Plaintiffs’ constitutional rights.” Pls.’ Resp. at 35, 41. The Court will address
each purported Borough custom in turn.

a. Borough Custom of Selectively Enforcing the Property Maintenance Code

Plaintiffs’ argument that the Borough had a custom of selectively enforcing the property
maintenance code is based solely on the testimony of plaintiff, Mr. Downs. See Pls.’ Resp. at 12,
37-38. Mr. Downs testified that he “think[s]” that the Borough selectively enforced the property
maintenance code. D. Downs Dep. 154:7-15. Further, plaintiffs in their response to Defendant’s
Statement of Facts, stated that “Mr. Downs believes that the Borough selectively enforced
property and zoning code based upon his observation[s]” of properties supposedly in violation of
the property maintenance code that he thinks did not receive a property maintenance code
violation. Pls.’ Resp. Defs.’ Statement Facts 24; D. Downs Dep. 153:1-155:24 (“There were

probably multiples, but I know there is a house down the street that the house is being overgrown

27
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 29 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 28 of 32

by the weeds and bushes and I don’t think they got cited for that.”). In sum, Mr. Downs’
testimony regarding a Borough custom of selectively enforcing the property maintenance code is
nothing more than mere speculation. Mr. Downs’ speculation is insufficient to create a genuine
issue of material fact as to whether the Borough had a custom of selectively enforcing the
property maintenance code. See Halsey v. Pfeiffer, 750 F.3d 273, 287 (3d Cir. 2014) (“[A]n
inference based upon a speculation or conjecture does not create a material factual dispute
sufficient to defeat summary judgment.”). Accordingly, the Court concludes that plaintiffs failed
to meet their burden of proving the existence of a Borough custom of selectively enforcing the
property maintenance code.

b. Borough Custom of Selectively Enforcing the Zoning Code

Plaintiffs’ argument that the Borough selectively enforced the Zoning Code is based on
their alleged “unfavorable treatment” by Locke when he enforced the Zoning Code against them
as compared to their neighbors—the Glasses. See Pls.’ Resp. at 35-37. This assertion, that
plaintiffs were treated differently from their neighbors, could support a selective-enforcement
claim under the Equal Protection Clause of the Fourteenth Amendment. See Digue v. New
Jersey State Police, 603 F.3d 181, 184 n.5 (3d Cir. 2010) (listing elements of a selective
enforcement claim under the Equal Protection Clause). However, plaintiffs did not plead a
selective-enforcement claim under the Equal Protection Clause of the Fourteenth Amendment in
the First Amended Complaint. See First Am. Compl. 9-12. Rather, the plaintiffs asserted a First
Amendment retaliation claim, id., and in response to defendant’s motion for summary judgment,
they argued that the Borough “had a custom of selectively and sporadically enforcing it (sic)
zoning code and used this custom to violate Plaintiffs’ constitutional rights.” Pls.’ Resp. at 41.

To prevail on such a claim, plaintiffs must provide evidence of a “widespread [Borough]

28
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 30 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 29 of 32

practice” of selectively enforcing the Zoning Code. See Praprotnik, 485 U.S. at 127 (defining a
“custom” as a “widespread practice’).

A “custom” exists when a “widespread practice” is “so permanent and well settled as to
constitute a custom or usage with the force of law.” Praprotnik, 485 U.S. at 127. While there is
no bright line rule that establishes how widespread a practice must be in order to be considered a
municipal custom, “[iJt is well established that ‘proof of a single instance of unconstitutional
activity is not sufficient to impose liability under Monell, unless proof of the incident includes
proof that it was caused by an existing, unconstitutional municipal policy, which policy (sic) can
be attributed to a municipal policymaker.’” Gwynn v. City of Philadelphia, 866 F. Supp. 2d 473,
488 (E.D. Pa. 2012) (quoting City of Okla. City v. Tuttle, 471 U.S. 808, 820 (1985)), aff'd, 719
F.3d 295 (3d Cir. 2013); Brown v. City of Pittsburgh, 586 F.3d 263, 292 (3d Cir. 2009). Thus, a
single incident of misconduct is insufficient to establish a municipal custom. See Praprotnik,
485 U.S. at 127 (explaining that a custom is a “widespread practice”); Crawford v. Van Buren
Cty., Ark., 678 F.3d 666, 669 (8th Cir. 2012) (“Liability for an unconstitutional custom or usage,
however, cannot arise from a single act.”); Wilson v. Cook Cty., 742 F.3d 775, 780 (7th Cir.
2014) (explaining that “a single incident—or even three incidents” does not constitute a
widespread municipal custom or practice); see also Solomon v. Philadelphia Hous. Auth., 143 F.
App’x 447, 457 (3d Cir. 2005) (“A custom under Monell can usually not be established by a one-
time occurrence.”).

In this case, plaintiffs do not provide any evidence that the Borough selectively enforced
the Zoning Code against other Jenkintown residents. Pls.’ Resp. 35-37. Rather, they attempt to
prove the existence of a municipal custom based solely on one instance of Locke’s alleged

misconduct—his disparate treatment of the plaintiffs as compared to their neighbors. See Pls.’

29
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 31 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 30 of 32

Resp. 35-37. A single incident of misconduct is insufficient to prove the existence of a custom.
See Praprotnik, 485 U.S. at 127. The Court thus concludes that plaintiffs failed to meet their
burden of proving the existence of a Borough custom of selectively enforcing the Zoning Code.
iti. Conclusion

The Court concludes that plaintiffs’ First Amendment retaliation claim against the
Borough based on an official policy fails. Additionally, plaintiffs have failed to show that any
alleged First Amendment retaliation they suffered was the result of a Borough custom.
Accordingly, defendants’ motion for summary judgment with respect to plaintiffs’ First
Amendment retaliation claim against the Borough (Count I) is granted.

C. State Law Civil Conspiracy Claim Against Locke in his Official and Individual
Capacity (Count II)

In their motion for summary judgment, defendants argue that plaintiffs “have offered no
proof that Locke acted in conspiracy with the Borough Solicitor, Sean Kilkenny.” Defs.’ Mot.
Summ. J. at 15. The Court agrees with defendants on this issue.

In Pennsylvania, “a civil conspiracy is a combination of two or more persons to do an
unlawful or criminal act or to do a lawful act by unlawful means or for an unlawful purpose.”
Brown v. Everett Cash Mut. Ins. Co., 157 A.3d 958, 967 (Pa. Super. Ct. 2017) (quoting Baker v.
Rangos, 324 A.2d 498, 506 (Pa. Super. Ct. 1974)). “Proof of malice, i.e., an intent to injure, is
essential in proof of a conspiracy.” Klein v. Madison, 374 F. Supp. 3d 389, 432 (E.D. Pa. 2019)
(quoting Skipworth by Williams v. Lead Indus. Ass’n, Inc., 547 Pa. 224, 235 (Pa. 1997)).

In their response to defendants’ motion for summary judgment, plaintiffs did not address
defendant’s civil conspiracy arguments. They say nothing about an alleged conspiracy between
Locke and Kilkenny in the response. Thus, plaintiffs have waived that claim. See Mason v.

Kruczaj, No. CV 13-6512, 2016 WL 161594, at *8 (E.D. Pa. Jan. 13, 2016) (“[A] failure to

30
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 32 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 31 of 32

counter the defendant’s challenges to the legal sufficiency of the plaintiff's claims ‘constitutes an
abandonment of these causes of actions and essentially acts as a waiver of these issues’ by the
plaintiff.”); Campbell v. Jefferson Univ. Physicians, 22 F. Supp. 3d 478, 487 (E.D. Pa. 2014)
(“[W]hen a plaintiff responds to a defendant’s summary judgment motion but fails to address the
substance of any challenge to particular claims, that failure ‘constitutes an abandonment of those
causes of action and essentially acts as a waiver of these issues.””). Nevertheless, the Court
addresses the conspiracy argument on the merits.

Upon review of the record in this case, the Court concludes there is no evidence that
Kilkenny and Locke conspired to retaliate against plaintiffs for exercising their First Amendment
rights. The evidence shows that Locke sought legal advice from Borough Solicitor Kilkenny on
the question whether the evidence against the plaintiffs was sufficient to issue a Notice of
Violation to them for operating an impact business. Locke Dep. 63:8-15, 66:14-17; Pls.’ Resp. at
29, 116. Plaintiffs have offered no evidence to the contrary.’ Instead, they argue, without
evidence, that Kilkenny gave Locke poor legal advice because Kilkenny wanted to punish the
plaintiffs. Pls. Resp. at 34. This is not evidence of a conspiracy between Kilkenny and Locke.
See Brown, 157 A.3d at 967 (stating that a civil conspiracy under Pennsylvania law requires a
combination of two or more people). Accordingly, defendants’ motion for summary judgment
with respect to plaintiffs’ state law civil conspiracy claim against Locke in his official and

individual capacity (Count III) is granted.®

7 Ms. Downs testified that she “believe[s]” that Kilkenny conspired with Locke, and that she has a
“suspicion” that Locke’s actions were directed by Kilkenny. M. Down. Dep, 97:16-98:12. Ms. Downs, however,
admitted that she does “not have any firsthand factual information” to support her beliefs. That testimony is
insufficient to create a genuine issue of material fact with respect to whether Kilkenny conspired with Locke to
retaliate against plaintiffs. See Halsey, 750 F.3d at 287.

Because the Court concludes that plaintiffs waived their Pennsylvania state law civil conspiracy claim, and
that there is no evidence of a conspiracy between Kilkenny and Locke, the Court does not address defendants’
arguments that Locke is entitled to governmental immunity under 42 Pa. Cons. Stat. § 8541 and official immunity
under 42 Pa. Cons. Stat. § 8546(2).

31
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 33 of 47
Case 2:18-cv-04529-JD Document 33 Filed 05/22/20 Page 32 of 32

Vv. CONCLUSION

For the foregoing reasons, defendants’ motion for summary judgment is granted in part
and denied in part. The Court grants that part of defendants’ motion for summary judgment
seeking to dismiss plaintiffs’ First Amendment retaliation claim against Pancoe and Bunker in
their individual capacities (Count [); plaintiffs’ First Amendment retaliation claim against the
Borough (Count J); and plaintiffs’ civil conspiracy claim against Locke in his official and
individual capacity (Count III). The Court denies defendants’ motion with respect to plaintiffs’
First Amendment retaliation claim against Locke in his individual capacity (Count I). The only
remaining claim in the case is plaintiffs’ First Amendment retaliation claim against Locke in his
individual capacity (Count I).

An appropriate Order follows.

32
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 34 of 47

Exhibit “B”
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 35 of 47

Page 1
UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

DAVID and MARGARET DOWNS : CIVIL ACTION
vs.

BOROUGH OF JENKINTOWN, :
et al : 18-CV-4529

Deposition of DEBORRA SINES PANCOE,
taken pursuant to notice at Jenkintown Borough Hall,l
700 Summit Avenue, Jenkintown, Pennsylvania, beginnin
at 9:38 A.M., on Wednesday, May 15, 2019, before
Nicholas DiPiero, Registered Professional Reporter an

Notary Public.

DIPIERO COURT REPORTING
Registered Professional Reporters
429 South 16th Street
Philadelphia, PA 19146
(215) 735-8101

Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 36 of 47

DEBORRA SINES PANCOE

25 (Pages 94 to 97)

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Page 94

that he needed to set up a meeting with the Downs and
that was -- Mr. Locke's practice is to meet with
people before he issues a violation and to follow it
up with a letter so that was.

Q. My follow-up question to that which I asked
earlicr, do you know if he ever met with them before
he issued the Notice of Violation?

A. I think he did.

Q. Did he ever report back to you on that
meeting and tell you the results of that meeting?

A. I'm trying to remember. I'm going to say
that he would tell me that the meeting occurred.
Q. I don't want to his practice. I want to know
your specific recollection.

A. I'm sorry. I just don't have a specific
recollection.

Q. So you don't have a recollection of him
coming back to you and saying hey, I met with the
Downs and discussed the allegation of whether they
were operating an impact business; is that correct?

A. I'm sure he must have discussed it with me
but I do not recall what he said.

Q. Between October of '16 and October of '17 did
you have ever have an understanding as to the Downs’
position on whether they were operating an impact

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Page 96

conversation.

Q. How about, did anybody ever come and say they
didn't operate any business at all out of their house?

A. Did any --

Q. Yeah. During that same time did any resident

or Borough member ever come to you and say the Downs
don't operate a business?

A. Once the violation notice was issued many
people said that to me.

Q. I'm talking about before that.

A. Before that it was not a topic of
conversation.

Q. So this is why I'm trying to be careful with

my questions and I have to repeat them because I
interpret your previous answer to be that prior to the
notice being issued that many people came to a meeting
and said that the Downs don't operate a business,
impact or other?

A. No. They came to the meeting in response to
that.

Q. To the notice?
A. Yes.
Q. Do you know and just so the record is clear,

the first allegations of a business, an impact
business being operated by the Downs was in October as

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Page 95

business?

A. Between '16 and ‘17?

Q. Yes. During that October '16 to '17 did you

ever have an understanding as to the Downs’ position

on whether they were operating?

A. No. No.

Q. Did anybody ever say to you that or

communicate to you that the Downs absolutely denied
that they were operating an impact business?

A. Did anyone communicate to me that the Downs'

Q Operating an impact business.
A. Yes.
Q. Who communicated that to you?
A Everyone that came to the public meeting.
Q. Which public meeting are you referring to?
A. I will say maybe the October 2017 BZ&R
meeting.
Q. How about before that, how about in late '16
or early '17, did any neighbors ever come and say that
the Downs don't operate a business?

MS. McDONOUGH: A business or an
impact business?
Q. An impact business.
A. I don't recall it being a topic of

wood Do & WN Pb

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Page 97

far as I know of ‘16.
A. Of '16?
Q. Your attorney may think it's September of

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MS. McDONOUGH: It was '16.
Of the Downs' operating a business?
Yes,
That was the first complaint.
. The first complaint I'm aware of by the
lasses was in October of '16.
Okay.
So a whole year goes by.
I'll take your word. You looked at the
apers.
So a whole year goes by. All right.
Okay. Oh, no. The Downs operating a business.
Downs.
You're saying that was in September of 2016.
I believe it was October of ‘16.
MS. McDONOUGH: The Fall of '16.
The Fall of 2016.
I want October. That's my understanding. So
in the year that follows that did anyone ever come up
to you either through Borough Council meetings or
privately or in committee meetings and say, the Downs

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Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 37 of 47

DEBORRA SINES PANCOE

28 (Pages 106 to 109)
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Page 106 Page 108
1 Q. Give me a specific reference of what you're 1 A. She is.
2 referring to. 2 Q. I think you said there were two reasons. What
3A. So she was discussing the Downs' zoning 3 was the other reason why you were not reappointing Ms.
4 dispute with the Glass family as part of the campaign. 4 Hull?
5 Q. So that's not a zoning decision. That's a 5 A, Well, I hate to sound like I'm forcing it off
6 dispute between neighbors; isn't it? 6 onsomeone else but Ms. MacHaffie was very concerned
7 A. I believe it was a zoning question. 7 that if a member of the Democratic party was not
8 Q. Well, had the Glasses had any matter before 8 supporting the endorsed candidate and was in fact
9 the Zoning Hearing Board either in ‘16 or ‘17 that 9 supporting a write-in candidate that that was
10 you're aware? 10 challenging to the Democratic party. I myself did not
11 A. The Glasses did not bring the matter to the 11. express that view. I was listening to that view?
12 Zoning Hearing Board. 12 Q. Would you agree that Ms. Downs ran as a
13 Q. Then what was wrong with Ms, Hull discussing 13 Democrat in her write-in candidacy?
14 the issue between the Glasses and the Downs? 14 A, That's a really good question.
15 A. The Downs were bringing the matter to the 15 Q. Or was a Democrat at the time she began her
16 Zoning Hearing Board. 16 write-in candidacy?
17 Q. That was in 2018 they did that. Let me help 17 A, I think she was a Democrat at the time but I
18 you. 18 think she was not a Democrat before that.
19 A. Maybe I have the timeline wrong. 19 Q. Before when?
20 Q. Let's get a couple facts straight here. Would 20 A, Before that election season.
21 you agree that you would have had this discussion with 21 Q. So is it your understanding she changed her
22 Ms. Hall in December of '17 at the end of the year? 22 registration to Democrat to run as a write-in
23 A, I don't think it was in December. | think it 23 candidate?
24 might have been in January or February. I den't recall || 24 A. I believe so.
25 the date. 25 Q. Do you know how it came to be or the process

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Page 107

Q. When would the new Zoning Hearing Board get
swom in typically?

A. It rotates throughout the year. There's no
set timeframe.

Q. So I presumed then it's done on an individual
basis. If a new Zoning Hearing Board member is
appointed then shortly thereafter they're sworn in or

is there some kind of ceremony?

A. Yeah. We vote about it. I guess -- do they
get sworn in? I'm not sure if they get sworn in.

Q. Maybe they don't. I assumed that but maybe
they don't.

A. Yeah.

Q. Do you have a specific recollection of when
you informed Ms. Hull that she would not be
reappointed?

A. I don't remember the date. So it must have
been after the election though because that was when
Dave would have stepped down and so we had a vacancy
and so we were thinking about filling vacancies and
looking at terms and whose term had expired.

Q. Did Ms. Hull express to you that she wanted

to remain on the Zoning Hearing Board?

A. She said she enjoyed the work.

Q. She's an attorney, correct?

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Page 109

in which the Downs were provided the Notice of
Violation?

A. The process of the Downs' --

Q. How they received the notice. Let me ask it.

Do you know how they received the Notice of Violation?

A. I believe they got a letter.
Q. Do you know how that letter was delivered?
A.  Idonot.

Q. Did you ever instruct Mr. Locke to hand
deliver the Notice of Violation to the Downs?
A. I did not instruct him of that.

Q. Do you know if Kilkenny instructed him to do
that?

A. I could not say now.

Q. Do you know if anyone instructed him to do
that?

A. I don't know.

Q Do you know if he in fact did hand deliver

the Notice of Violation to the Downs?
A. The more you say hand delivered the more I
think oh, maybe he did that. I don't know.

Q. Is it typical process to mail it?
A. I think they go certified, yeah.
Q. Through the mail?

A. Yes.

DiPIERO COURT REPORTING

(215)

735-8101
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 38 of 47

DEBORRA SINES PANCOE

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Page 146

Borough received were from the Glasses about the
Downs?

A. Well, that's my recollection.

Q. Mr. Riley may have also chimed in also?

A. I was going to say, yeah.

Q. The landlord may have chimed in; would you
agree?

A. Yes. I have heard that Mr. Riley.

Q. Read the last paragraph of the last page. I'm

going to read the first sentence. “Under these

conditions as the standard to determine if a business

is being operated has been redefined due to recent

legal cases and rulings, the Borough must make their

determination based on the new redefined standard."
Did he explain to you what the new

and redefined standard was.

A. Yes.
Q. And what is it?
A. That on the basis of these complaints he was

going to proceed with the violation notice.
Q. Well, that's not the standard. I want to
know what the new standard was that led him to believe
that there was a violation. You said he explained it.

MS. McDONOUGH: You're asking her a
legal question.

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38 (Pages 146 to 149)
Page 148
A. Yes.
Q. Does Mr. Kilkenny typically report to you or

summarize to you his conversations and advise provided
to Mr. Locke when they communicate?

A, Mr. Kilkenny submits official monthly reports
and he gives us a bill.

Q. T understand that. He gives those to the

Borough. I'm asking you if he specifically
communicates with you in an informal way about issues
that he discusses with George Locke?

A, No.

Q. Has he ever done that?

A. Only if I ask him.

Q. And did you ever ask him with regard to this
issue?

A. No.

Q. When I say issue I mean the issuance of a

Notice of a Violation against the Downs for operating

an impact business?

A. I recall one phone conference with Mr.
Kilkenny.

Q. Who was in on the conference?

A. Him and I think George might have been in on
that phone conference and I was asking about the
contents of this, helping me to understand it.

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Page 147

Q. __ I'masking her her understanding and that's
all I asked.

A. I couldn't answer the question.

Q. Did you question him about the new standard
when he stated that there was a new standard?

A. I did not. I suppose I was negligent in that
regard.
Q. I don't know. Did you question Mr. Kilkenny

about that?

A. No.

Q. Had you assumed that Kilkenny and Locke had
already discussed that based on the contents of this
memo?

A. I assumed that our manager consults with the
attorney when he is issuing these kinds of zoning
matters. Especially when they are highly contended.

Q. Does Mr. Locke have permission speak to the
Solicitor at any time?

A. Yes.

Q. Does that come from you or is that standard
operating practice?

A. I don't know the answer to that question.
Q. But you yourself have instructed him if he

needs guidance he's allowed to communicate with Mr.
Kilkenny?

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Page 149

Q. So you have a specific recollection of

speaking with George and Mr. Kilkenny about Exhibit
Pancoe 2, the contents of Exhibit Pancoe 2?

A. No. Not the specific memorandum. I think
the specific memorandum was given to all Council
members. When I got it I just wanted to make sure I
understood.

Q. I want to go back to the appointment of

Zoning Board hearing members. Has there ever been a
time since you've been on Council that Borough Council
did not approve of a candidate who's recommended by
the vacancy committee for the Zoning Hearing Board?
A. Good heavens. I can't recollect any such
time.

Q. When the vacancies occurred in'17 with Hull
and was it Ballard?

A. Okay. Yes.

Q. Was it up to the vacancy committee to put

forth those names as to who would be recommended to
Borough Council and then for Borough Council to
subsequently voted on them?

A. Yes. And I will remind you that we
interviewed people and other members of Council were a
part of those interviews.

Q. They would sit in from time to time?

DiPIERO COURT REPORTING

(215)

735-8101
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 39 of 47

DEBORRA SINES PANCOE

39 (Pages 150 to 153)

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Page 150]

A. Yes.

Q. Did you ever instruct Mr. Locke not to

provide a Notice of Violation to the Downs' until

after the November 7, 2017 election?

A. I had that discussion with Mr. Locke.

Q. What did you tell him?

A. I said it would be better not to doa

violation before the election.

Q. And why is that?

A. Because I didn't want there to be a

perception that we were trying to interfere with
Peggy's opportunity to campaign and run for election.
Q. Would you agree that that could have had a
backlash effect on Ms. Dobbs' campaign?

A. I would not state it that way. I think it

would have been -- I don't know what kind of effect. I
just didn't want Peggy to be upset that we were trying
to get in the way of her running for mayor.

Q. At the time the Borough noticed the Downs did
you take, and this would have been I guess December
7th of '17. Did you have any communications with
George or with Mr. Kilkenny and if Mr. Kilkenny wants
her deemed privileged then don’t tell me what you

said. I just want to know if you had communications
about this topic. Concerns about whether or not the

SG YA UO & WH

Page 152

A. Yes.

Qa. Did you still have the same conclusion after

those zoning hearings?

A. Yes.

Q. I'm handing you Exhibit Pancoe 3 and it's an
e-mail from George Locke to Ben Sanchez. Do you know
who Ben Sanchez is?

A. Ido.

Q. Who is he?

A. I think at the time he was a commissioner for
Abington Township.

Q. Will you please read the first page and then

T have some questions for you. You know what, before
you read the first page why don't we go back at the
second page. And you can start at the top where you
see the hi, George. Read that to yourself so you
understand who George is replying to.

A. Okay.
Q. Have you ever seen this before?
A. No.

Q. Would you generally agree with the comments
that Mr. Locke makes in this E-mail?
MS. McDONOUGH: Objection.
A. Give me a specific comment.
Q. First one, the residents of 301 Runnymede

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Page 151

Borough was treating the Downs differently than they
had treated the Glasses?
A. Did I have concerns about that?
Q. Did you have communications with Mr. Locke
and/or Kilkenny about those concerns?

MS. McDONOUGH: Objection. If she had
any concerns.
Q. Assuming you had any.
A. Yeah, I was not concerned that there was

uneven treatment. George in fact was making sure that |

there was even treatment.

Q. Did you do anything to insure that George was
treating the Glasses and the Downs equally because you
were concemed that maybe that wasn’t happening?

MS. McDONOUGH: Objection. She said
she was not concemed and you keep putting in your
question because you were concemed.

MR. FOX: Well, she told me that
George, she believed George was doing.

Q. I'm asking you if you had concerns separate
from George.

A. No. I was not concerned that they were being
treated differently.

Q. Now, you sat through all three zoning

hearings with the Downs?

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Page 153

vehemently object to the presence of the neighbor at
301 Runnymede due to his status.

A. I would agree with that.

Q. And what do you think he meant by status?

A. Well, there's two meanings for the status.
One is the operation of a business and then the other
is that he a registered sex offender. And that has
been made well -- we have been made aware -- we in
Council have been made aware of that by the Downs.
Q. The next sentence, they filed a stack of

reports that the neighbor was running a business to
have him zoned out. Would you agree with that?

MS. McDONOUGH: Are you going to read
this entire memo that she's never seen before and ask
her --

MR. FOX: Well, you objected to my
first question.

MS. McDONOUGH: I don't think it's
appropriate questioning at a deposition.

MR. FOX: Your objection is noted.

She's been working with the guy for ten years.

MS. McDONOUGH: Pardon me? I didn't
hear what you said.

MR. FOX: She's been working with Mr.
Locke for ten years or so.

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(215)

735-8101
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 40 of 47

Exhibit “C”
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: -ttisn'tmy ward

. they pushed and pushed and pushed until they got Glasses cited

Rick Bunker If itis about the Glass/Downs war, well, a few things:

- Council sets the code, but isn't involved In eltations etc.

~ [thought that the citation against the Glass family, claiming he
ran a business out of his house was allly, too.

And | think the eltation against the Downses Is silly If tt were ino
yacuum. BUT he who lives by the sword dies by the sword, And

for basically the exact same thing. So how would it be falr not to
cite them for the same thing when the Glasses complained?

= If being a contractor or tradesperson and keeping tools In your
garage and driving to work with them is a problem, then a TON of
us In the borough are In trouble. \ don't think It is. But again, the
Downses set the standard with their complaint against the
Glasses, and | guess what's good for the goose is good for the
gender.

-and finally, ils my understanding that If you get a zoning citalion,
ali you have to dois write a letter saying “sory | will stop” and the
process is done. Why the Downses are tuming this into o federal
case Is beyond me. But! could be wrong, like | sald on council we
don't do enforcement.

Uke: Reply - 26w - Edited

©) Linda MeGrath Rick Bunker : Why do you refer to thisissue

as the Downs’ /Glass war? | went back to read council
meeting minutes a bil ago when I started to read Peggy's
post (re: this citation). They went back several years and the
complaints were real and serious (and even acknowledged
by council members). Many residents were very disturbed
and velced complaints and | see Brad Beck has made
several comments here (on the meeting info thread) about
the hearing last evening, even indicating he was not
permitted (legally) to say much out here but anyone cen see i
hear his life was made miserable due to the situation going
on @ Downs’ neighbor's residence. I've also read many
posts from people who live on Leadom Street where the
family lived before re: their fear (and yes one person used
that kind of strong word) and intimidation, the biz
operations,...going on {here as well, So, why are you saying
ONLY the Downs' name and why call It SILLY? Is It silly that
so many people have been so elfected. \ dare say these
residents didn't think and don't think It's silly. 7?

| posted before after reading minutes from a very early on
council meeting, that it seemed tome that action was not
taken swiflly enough of adequately enough and THAT IS of
seems to me to be ...{he reason for that "war" if you want to
call It that, As | sald before, | don't know who dropped what
ball, but It was my impression that balls were dropped. You
can try to humillate me with your words/ response if you want
but that was / is my Impression.

Like + Reply * 26w - Edited ?

® Rieck Bunker Linda McGrath have mentioned bethe the

Peggy McGrath Downs issues, and the Glass Issues,
because they are inextricably linked.

The Downses started complaining about the Glasses the day
they moved In. In fact they had a meeting about “dealing” with
.. See More

Like + Reply > 25 - Edited

€}_Oontso Barrott Gobo Rick Bunker Although many entries

have been “changed” since complaints started, just google
the Glass business and some entries silll have the
Runnymede address listed as his business address. The
complaints were not “silly” against Glass. bul are you
admitting that they are “silly” against the Downs?

Like Reply - 26

6 Denise Barrett Sobo | have to say that! am beyond
"disappointed not only with Locke's tesimony last night but
with his lack of fellow up. From his own testimony, he only did
a couple of “drive by’s (that were not documented) and
determined that the Violation was warranted.

Like « Reply « 26w - Edited

GROUP BY
oN
se i.

ADD MEMBERS

Jenkintown House & Apartment c

55 like this
Sond Mossage

=

Enter name or email address...

3,031 Members

QOzS

MEMBERS

7

SUGGESTED MENBERS Hide
Friends
de Caitlin Furlong Add Momber .
a
=f) Victoria Ballantine Add Member
ey Lara Joan Add Member
See More
DESCRIPTION

Jenkintowns Community Page

Where we can post happenings, quest...
See More

GROUP TYPE

Neighbors

LOCATION

| Jenkintown, Pennsylvania
This location is st based on your group's name

BRING PEOPLE TOGETHER

Groups are separate spaces where you can
share photos and make plans with just the
people you want.

Create a Group |

See All

RECENT GROUP PHOTOS
ee: 7

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TSOAM = ;
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rane aca

R.O.ARZ. Residents of Abington
for Responsible... Join
235 members

Chat (Off)
a

Like: Reply » 28w

€) Denise Barratt Sobo Rick Bunker Nelther one of us are
trying this case, but if you call a complaint “silly”. | will note
that there were many similar complaints from more than one
person, Could you clarify your comments? Are you saying
that the Downs were asked to change something and didn't
doit? Testimony last night showed that the Downs were
never spoken to. They also asked for an Inspection several
times that never happened.

Like - Reply : 26w

&) Randy Cance The inspections that did take place were
“drive-bys".
Like: Reply » 26w

& Rick Bunker In my personal opinion, not having been doser
to the whole stinking mess than | could possibly help, but
having been subjected to hours of the Downses reading
statements to council about enforcement that itis tha police
and zoning officials' responsibility to enforce, not council's. |
think that the Glasses citation was pretty weak, and that the
Downses citation Is pretty weak, And | think that ifthe
Downses hadn't pushed so hard neither of the citations would
ever have been written. And | think that once lhe Downses
pushed hard enough to gel the weak citation written against
the Glasses, that they shouldn't act so stunned that the
borough had to give the same weight to the Glasses
complaints.

The citation isn't a finding of guilt, by the way. It Just says you
have to go the the ZHB, or just to court. Itis like a speeding
ticket. You still get to see the judge. The cop just makes you
take it to the judge.

Like - Reply + 26w

8 Randy Cance If you had a nelghbor making threats to you

“every moming you got Into your car to go to work, you don't
think that you might seek out the help of the borough? OH, |
fergot! You own a gun, so you could have just used PA's
“Stand Your Ground" laws and shot the guy. Should the
Downses have just bought a gun and left you all alone?

Like - Reply + 26w

€ Denise Barratt Sobo Rick Bunker hmm... that’s an
*" Interesting perspective,

Like - Reply - 26w

@ Rick Bunker Randy Cance | would call the police. Which
they did. And he was charged. And he went tojail.

Like + Reply - 26w

& Randy Canco The Downses did call the police. In fact. | met
Peggy Downs for the first ttme at a Council Meeting where
we she went on for some time describing the threats. |
listened in amazement wondering why the police didn't just
park a car out there in the moming and arrest Glass as soon
@s he started with his threats.

Instead, | got to hear Council and Sean Kilkenny blather on
for another half-hour about what little they could actually do.
In the midst of that. George Locke kept felling them that his
hands were tied, Everyone's hands were tied.

My understanding of the situation, Rick Bunker, Is that the
Downses finally went over the head of the Borough and
privately filed criminal charges against thelr neighbors out of
frustration with the Borough's hands being so tied. Nice work,
Borough.

Aneighbor comes to you for help. and you do nothing. Then
they make you lock bad. and you go after them, Boy, does
that sound familiar,

Like + Reply - 26w

Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 42 of 47

GROUP BY
ay Jonkintown House & Apartment C
Yom 55 like this
eee | Send Message |

ADD MEMBERS

| Enter name or email addrass...

MEMBERS 3,031 Members

LEBOZS

SUGGESTED MEMBERS Hide

Friends

& Caitlin Furlong Add Member
Add Member
Add Member

Seo More
DESCRIPTION
denkintowns Community Page

Where we can post happenings, quest...
See More

GROUP TYPE
Neighbors

LOCATION
Ci
This location is set based on your group's name

} Jenkintown, Pennsylvania

BRING PEOPLE TOGETHER

Groups are separate spaces where you can
share photos and make plans with just the
people you want.

Suggested Groups See All

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R.O.ARZ. Residents of Abington
for Responsible... Join
235 members

Chat (Off)

Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 43 of 47

Exhibit ““D”
Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 44 of 47

George Locke

From: George Locke

Sent: Wednesday, November 01, 2017 7:06 PM

To: Deborra Sines-Pancoe; Sean Kilkenny; Anthony Ciuca
Ce: Richard Bunker; Jay Conners; Kieran Farrell

Subject: RE: 301 Runnymede Complaint Summary

Hello Deborra (all),

(have already met with Sean and Tony. The next steps are defined. As Sean stated the next step will be to issue the
Violation letter that | drafted. As directed | will be holding off on sending that letter until after the election. We have
offered to meet with the Downs’ to discuss the complaints. That offer will still be in the Violation letter as well as the
need to stop the actions shown in photos.

| have no doubt the actions depicted in the photos will stop for the time being as the grass cutting etc. is a seasonal

activity.

As far as Council Leadership support - | have no further support to request at this time. | suspect that | will be needing
support once the Violation letter is issued.

Thank you and talk soon
George Locke

Borough Manager

Jenkintown Borough

(O) 215 885 0700

(C) 610 636 3540

(E) glocke@jenkintownboro.com

From: Deborra Sines-Pancoe

Sent: Wednesday, November 01, 2017 11:15 AM

To: George Locke <glocke@jenkintownboro.com>; Sean Kilkenny <sean@skilkennylaw.com>; Anthony Ciuca
<tony@skilkennylaw.com>

Ce: Richard Bunker <rbunker@jenkintownboro.com>; Jay Conners <jconners@jenkintownboro.com>; Kieran Farrell
<kfarrell@jenkintownboro.com>

Subject: Re: 301 Runnymede Complaint Summary

George,

Thank you for putting together and sharing this comprehensive memo.

What next steps are you planning? Do you have a meeting set up with Sean/Anthony to define next steps?
What support would you like from Council leadership regarding this case?

| have time either early Thursday morning (11/2) or Friday morning (11/3) if you wish to talk.

Deborra

From: George Locke <glocke@jenkintownboro.com>

Date: Tuesday, October 31, 2017 at 4:29 PM

To: Sean Kilkenny <sean@skilkennylaw.com>, Anthony Ciuca <tony@skilkennylaw.com>

Cc: Deborra Sines Pancoe <dsinespancoe@|enkintownboro.com>, Richard Bunker <rbunker@jenkintownboro.corm>, Jay

Case 2:18-Cv-04529-JD Document 39-2 Filed 06/18/20 Page 45 of 47

Kelly Scarboro

From: Sean Kilkenny <sean@skilkennylaw.com>

Sent: Monday, October 16, 2017 5:20 PM

To: George Locke; Richard Bunker

cc Anthony Ciuca; Jay Conners; Kieran Farrell; Deborsa Sines-Pancoe; A MacHaffie; J Lugar
Subject: RE: Downs meeting request

Rick: Jt was my suggestion thal we meet with them (the Downs). | did so because ! prosecuted the case in front of Judge
McHugh and wanted to bring to their attention that the complaints may result in George issuing a citation and that they
should cease.

Best,

Sean

Sean P. Kilkenny

The Law Offices of Sean Kilkenny, LLC
17 E. Airy St.

Norristown, PA 19401
sean@skilkennylaw.com

Office Phone: 484-679-8150

Direct Dial: 484-679-8153

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SEAN KILKENNY

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considered public records unless specifically exempt under the RTIL.

From: George Locke [mailto:glocke@jenkintownboro.com]

Sent: Monday, October 16, 2017 5:02 PM

To: Richard Bunker <rbunker@jenkintownboro.com>

Ce: Anthony Ciuca <tony@skilkennylaw.com>; Jay Conners <jconners@jenkintownboro.com>; Kieran Farrell
<kfarrell@jenkintownboro.com>; Deborra Sines-Pancoe <dsinespancoe@jenkintownboro.com>; A MacHaffie
<amachaffie@jenkintownboro.com>; J Lugar <jlugar@jenkintownboro.com>; Sean Kilkenny <sean@skilkennylaw.com>
Subject: RE: Downs meeting request

Case 2:18-cv-04529-JD Document 39-2 Filed 06/18/20 Page 46 of 47

{have not met with a party who was being accused of running a business previously. | have communicated with
residents as | did Glass by phone. | did communicate this complaint to Mr Downs by phone and he stated it was not true.
In discussing this particular complaint, it was suggested that we should meet with them.

From: tick @bunkerpianet.com [mailto:rick@bunkerplanet.com] On Behalf Of Rick Bunker

Sent: Monday, October 16, 2017 4:25 PM

To: George Locke <glacke@ienkintownboro.com>

Cc: Anthony Ciuca <tony@skilkennylaw.com>; Jay Conners <jconners@jenkintownboro.com>; Kieran Farrell

<kfarrell@jenki m>; Deborra Sines-Pancoe <dsinespancoe@jenkintownboro.com>; A MacHaffie
< le@ie oro. >; J Lugar <jf enkintownboro.com>; Sean Kilkenny <sean@skifkennylaw.com>

Subject: Re: Downs meeting request

fs such a meeting normal in a situation like this?

On Oct 16, 2017 3:38 PM, “George Locke” <glocke@jenkintownboro.com> wrote:
Goad morning Solicitors (all),
| spoke to Dave Downs conceming the meeting we have proposed to discuss the complaints filed stated they are
running a business out of their residence at 301 Runnymede Avenue. He stated they can make a 6:00 PM meeting on

October 23” prior to the Council meeting. If you are available, | told Dave | would send an invitation confirming the
meeting as set.

Additionally, on Friday I received bank statements showing he paid the Downs family for landscape services. Mr. Reilly
followed up with a phone call to tell me the information attached to this email woas being sent, he requested it be read

at a public meeting as he was out of country and could not attend. | did not include them on this email but can provide
them under separate cover.

Today | received the attached letter and photos from Mr. Reilly, he would like them entered in to record. The personal
letter speaks for itself. The pictures appear to depict Mr. Downs loading landscaping equipment on to a truck and fater
performing tandscaping work at another residence.

{ook forward to hearing back from you on this. | have also Cc’d Council feadership and Council ward members from
- the affected ward to keep them In the loop.

Thank you and talk soon
George Locke
Borough Manager
Jenkintown Borough
(0) 215 885 0700

(C) 610 636 3540

Kelly Scarboro

From: Sean Kilkenny <sean@skilkennylaw.com>
Sent: Tuesday, January 09, 2018 12:08 PM

To: George Locke

Ca Deborra Sines Pancoe; Anthony Ciuca

Fwd: David & Margaret Downs, 301 Runnymede Avenue, Jenkintown, PA 19046
LETTER to Sean P. KilKenney, Esquire (1-9-2018) (01113394xA68C5) pdf

Subject:
Attachments:

George, | am inclined to say no, we already had a meeting, thoughts?

Get Outlook for Android

From: Peter §. Friedman, Esq. <PFriedman@fsalaw.com>

Sent: Tuesday, January 9, 2018 11:55:43 AM

To: Sean Kilkenny

Ce: George Locke

Subject: David & Margaret Downs, 301 Runnymede Avenue, Jenkintown, PA 19046

Sean:
Please note my attached correspondence to you. Please call me if you have any questions.
Hope all is well with you.

Peter

Peter S, Friedman, Esq. Direct 215-690-3804 | Fax 215-635-7212

. 101 Greenwood Avenue, 5th FI
| Jenkintown, PA 19046
| e-mail | v-card | bio | website

FRIEDMAN SPAS CHUMAN:

Astormmeys ot Law

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